Case 2:03-cr-20274-SH|\/| Document 80 Filed 04/20/05 Page 1 of 6 Page|D 102

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UNlTED STATES OF AN|ERICA
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CLEEK. U." o. Di

'V" 03-20274-01-Ma W.D. OF TN Mi:i\/iPHiS

JA|V|ES |V|ERR|WEATHER
T. C|ifton Harvie|. Jr., CJA
Defense Attorney
50 N. Front Street
IVlemphis, Tennessee 38103

 

JUDGN|ENT |N A CRI|V|INAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 through 8 and 11 of the indictment on September 16,
2004. According|y, the court has adjudicated that the defendant is guilty of the following offense(s):

 

Date Offense Count
Title & section W Concluded Number(sf
18 U.S.C. § 922(g) Felon in possession of firearms 10/17/2002 1 - 8 & 11

* Counts 1 - 4 are merged as one conviction and Counts 5 - 8 are merged as one
conviction. The defendant is sentenced as provided in the following pages of this
judgment The sentence is imposed pursuant to the Sentencing Fleform Act of 1984 and
the l\/landatory Victims Flestitution Act of 1996.

Counts 9 and 10 are dismissed on the motion of the United States.

|T IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until a|| fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 7/13/1966 Apri| 151 2005
Deft’s U.S. Marsha| No.: 19216-076

Defendant’s Flesidence Address:
166 Chape| Street
C|arksvii|e, TN 37042

dwi/mg

SAN|UEL H. |V|AYS, JFl.
UN|TED STATES D|STFl|CT JUDGE

 

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AprilW, 2005
Th|sdocun'lent entered on ne ;r:oi\zet!;neel in com iiance
With Flu‘le 155 indict 32{1'.)) FHCri~’ On

     

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Case No: 03-20274-01-1\/|a
Defendant Name: James i\/lerriweather Page 2 of 5

l|VlPRlSON|\/|ENT

The defendant is hereby committed to the custody of the United States E>ureau of
Prisons to be imprisoned for a term of one hundred eighty (180) months.

The Court recommends to the Bureau of Prisons:

That defendant participate in the 500 hour drug rehabilitation program at Lexington,
Kentucky.

The defendant is remanded to the custody of the United States I\/larsha|.

RETURN

| have executed this judgment as follows;

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. i\/iarshai

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Case No: 03-20274-01-l\/la
Defendant Name: James lvlerriweather Page 3 015

SUPERV|SED FlELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of three (3) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply With the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed bythe court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegaily so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Defendant Name: James lVlerriweather Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal l\/lonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependencywhich may include testing forthe detection of substance use orabuse. Further,

the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall seek and maintain lawful full-time employment
3. The defendant shall obtain his General Educational Development (G.E.D.) Diploma.

4. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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Defendant Name: James l\/lerriweather Page 5 of 5

CRHV||NAL N|ONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$300.00*

'Counts 1 - 4 are merged as one conviction and
Counts 5 - 8 are merged as one convictionl

The Special Assessment shall be due immediately

F|NE
No fine imposed

RESTITUT|ON
No Restitution was ordered

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 80 in
case 2:03-CR-20274 Was distributed by faX, mail, or direct printing on
Apri120, 2005 to the parties listed.

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

